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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS

                                                     )
UNITED STATES OF AMERICA,                            )
                                                     )
                        Plaintiff,                   )
                                                     )
               v.                                    )        Case No. 07-20018-JWL
                                                     )
SHAUNE FRAZIER,                                      )
                                                     )
                        Defendant.                   )
                                                     )



                            MEMORANDUM AND ORDER

       On March 7, 2012, the court denied defendant Shaune Frazier’s Motion for

Retroactive Application of Sentencing Guidelines on the merits (doc.359).

       For the reasons set forth in that Memorandum and Order, Mr. Frazier is ineligible

for relief pursuant to 18 U.S.C. § 3582(c)(2). As the facts establish that the defendant

is ineligible for relief, the court is without jurisdiction to consider a reduction of sentence

under § 3582(c). United States v. Curtis, 252 Fed. App’x 886, 887 (10th Cir. 2007)

(Where the Amendment did not subsequently lower the defendant’s Guideline range, the

district court has no jurisdiction to consider a modification to his sentence under 18

U.S.C. § 3582(c)(2)). As such, the court’s prior Order is amended nunc pro tunc to

dismiss the defendant’s Motion for Retroactive Application of Sentencing Guidelines for

lack of jurisdiction.
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       IT IS THEREFORE ORDERED BY THE COURT that defendant’s Motion

for Modification of Retroactive Application of Sentencing Guidelines (doc. 352) is

dismissed for lack of jurisdiction.



       IT IS SO ORDERED this 25th day of May, 2012.


                                         s/ John W. Lungstrum
                                      John W. Lungstrum
                                      United States District Judge




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